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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division


     IN RE: INTERIOR MOLDED DOORS
                                                  Civil Action No. 3:18-CV-00718-JAG
     ANTITRUST LITIGATION


     IN RE: INTERIOR MOLDED DOORS
                                                  Civil Action No. 3:18-CV-00850-JAG
     INDIRECT PURCHASER ANTITRUST
     LITIGATION


                       OREPAC BUILDING PRODUCTS, INC.’S
                   MEMORANDUM IN SUPPORT OF MOTION TO STAY

          OrePac Building Products, Inc. (“OrePac”) files this Memorandum in Support of its

Motion to Stay, stating as follows:

I.        INTRODUCTION

          The public disclosure of OrePac’s commercially-sensitive, confidential pricing and

customer data should be stayed so that OrePac 1 and its counsel are first given a meaningful

opportunity to see and review the data that is threatened with disclosure.    As set forth below,

OrePac is not a party to this action, had no advance notice that any of its data actually had been

filed with the Court, and was given no notice or opportunity to be heard on whether any of

OrePac’s data was entitled to redaction from the parties’ reports. Stay of this Court’s September

3, 2020 Order is appropriate to allow OrePac an opportunity to protect certain specific trade

secret and confidential data.




1
 Together with about a dozen other companies, who are not parties to this action, but who
provided discovery in response to subpoenas.


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II.    FACTS

               OrePac is not a party to this action but in the early part of 2019 was served with

subpoenas by both Plaintiffs and Defendants because OrePac sells Interior Molded Doors

(“IMDs”). Betz Declaration, ¶¶ 2 and 3. OrePac ultimately agreed to produce a large set of

confidential financial and business data after receiving assurances from the litigants that the data

was protected from public disclosure by the case Protective Order. Id., ¶ 4. OrePac was next

informed about the use of its data on September 16, 2020, when counsel for the IPPs informed

OrePac of this Court’s September 3, 2020 order. Over the next eight days, Plaintiffs and

Defendants shared with OrePac summaries of OrePac confidential materials which had already

been filed, under seal with this Court, as part of several expert reports. Leonard Dec., ¶¶ 7-10.

Those summaries reveal that some of OrePac’s most sensitive commercial and business data has

been included in the expert witness reports of Russell Mangum, James Levinsohn, and Russell

Lamb. Betz Dec., ¶4 and 5. The OrePac data includes specific sales quantities, broken down on

a state-by-state basis, showing where OrePac sells its IMDs. It includes “pass through” margins,

which reflect OrePac’s profit margins. It includes the names of OrePac’s top customers and the

sales volumes that go to those customers.           Id., ¶7.   This data was all designated “Highly

Confidential” because it is treated that way by OrePac and because disclosure of that data to

OrePac’s customers, suppliers or competitors would result in serious significant commercial

damage to OrePac. Id.

III.   ARGUMENT

       OrePac is not a party to this litigation but its confidential data is subject to this Court’s

September 3, 2020 order directing public filing. OrePac has a clear interest in its commercial

secrets, an interest that is widely protected as a property interest. Nixon v. Warner Commc’ns,




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Inc., 435 U.S. 589, 598 (1978). More specifically, OrePac relied upon the case Protective Order

in this case, which at ¶ 11 specifically accords third parties, like OrePac, protection against use

and disclosure of its confidential information. The Protective Order at ¶ 5 provides that OrePac

is entitled to notice and opportunity to be heard if the “Highly Confidential” designations OrePac

made are challenged. OrePac received notice that its data had been filed with the Court, and that

this Court had ordered public disclosure of that data, for the first time, two weeks after this Court

issued its September 3, 2020 Order.

       OrePac should be granted a stay of this Court’s September 3, 2020 Order so that it may

more fully set forth its confidentiality interests, articulate the damage it will suffer by disclosure,

and offer appropriate redactions that will allow the expert reports in question to be unsealed.

OrePac does not seek a blanket sealing order. As a matter of due process, OrePac is entitled to a

stay of this Court’s September 3, 2020 Order, which otherwise requires public disclosure of

OrePac’s confidential data tomorrow. That stay will ensure that OrePac has an opportunity to set

forth, and this Court has the opportunity to consider and (if appropriate) approve, limited

redaction and/or sealing of OrePac’s confidential information in compliance with Local Civil

Rule 5 before the expert reports in question are made public. Absent a stay, OrePac will suffer

irreparable harm through the public disclosure of its highly confidential materials, without

having been afforded a full and fair opportunity to protect such materials from disclosure.

       IV.     CONCLUSION

       WHEREFORE, in consideration of the foregoing, OrePac Building Products, Inc.

respectfully requests that the Court grant its Motion to Stay and enter an Order staying the

September 3, 2020 Order pending full briefing regarding appropriate redactions and/or sealing of

OrePac’s confidential information contained or attached to Plaintiffs’ motions for class




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certification. In all cases, OrePac requests that the Court grant it such other and further relief as

justice may require.




DATED: October 1, 2020                          Respectfully submitted,

                                                OREPAC BUILDING PRODUCTS, INC.
                                                By Counsel


                                                /s/ Patrick J. McDonald     _____
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                            CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on October 1, 2020, I filed the foregoing using the Court’s
CM/ECF system, which sent a true and accurate copy to all counsel of record.


                                          /s/ Patrick J. McDonald
                                          Patrick J. McDonald




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